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                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 Middle District of Georgia


                                                 Civil Division         Telephone: 478-752-3511
                                                 Post Office Box 1702   Fax: 478-621-2737
                                                 Macon, Georgia 31202


                                                 August 12, 2022

Mr. David W. Bunt, Clerk of Court
United States District Court
Middle District of Georgia
475 Mulberry Street
Macon, GA 31201

      RE:    Andrea Manrique Yaruro v. USA, 7:22-cv-39-WLS

Dear Mr. Bunt:

       Pursuant to Local Rule 6.2, I am writing to request a fourteen-day extension of
time for the United States to file its Reply in support of Defendant’s Motion to Dismiss
(ECF No. 19). This extension would extend the time to file the reply up to and including
Friday, September 2, 2022.

       If you have questions or would like to discuss, I am available by phone (478-621-
2630) or email (Bowen.Shoemaker@usdoj.gov).

                                               PETER D. LEARY
                                               UNITED STATES ATTORNEY


                                        By:    E. Bowen Reichert Shoemaker
                                               Assistant United States Attorney

cc:   Jeremy Jong (via CM/ECF)
      Shirley Zambrano (via CM/ECF)
